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 1                        UNITED STATES DISTRICT COURT

 2                         DISTRICT OF MASSACHUSETTS

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 4     **********************************
       IN RE:                             )
 5     DAILY FANTASY SPORTS LITIGATION    ) No. 16-MD-02677-GAO
                                          )
 6     **********************************

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 8
                  BEFORE THE HONORABLE GEORGE A. O'TOOLE, JR.
 9                        UNITED STATES DISTRICT JUDGE
                                MOTION HEARING
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13                John Joseph Moakley United States Courthouse
                                Courtroom No. 22
14                             One Courthouse Way
                          Boston, Massachusetts 02210
15

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17                               December 12, 2018
                                     2:21 p.m.
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25                Mechanical Steno - Computer-Aided Transcript
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 1                              P R O C E E D I N G S

 2                THE CLERK:    All rise.    United States District Court

 3     for the District of Massachusetts.        Court is in session.

 4          Be seated for a hearing in the case of In Re:         Daily

 5     Fantasy Sports litigation, 16-MD-02677.

 6          Would counsel identify yourselves for the record.

 7                MR. WELD:    Good afternoon, your Honor.     Christopher

 8     Weld, Jr. for the plaintiff class.

 9                MR. WARD:    Good afternoon.    Jasper Ward on behalf of

10     plaintiffs in the class.

11                MR. LONGMAN:    Your Honor, Howard Longman also on

12     behalf of the plaintiffs in the class.

13                MR. MARSHALL:    Damien Marshall from Boies, Schiller &

14     Flexner on behalf of DraftKings.

15                MS. NATHANSON:    Leigh Nathanson also from Boies,

16     Schiller & Flexner LLP on behalf of DraftKings.

17                MR. ZWILLINGER:    Good afternoon.    Mark Zwillinger from

18     ZwillGen on behalf of FanDuel.

19                MR. SOMMER:    Jacob Sommer, ZwillGen, on behalf of

20     FanDuel.

21                MR. McDOWELL:    And David McDowell on behalf of

22     FanDuel.

23                THE COURT:    All right.   So the limited occasion for

24     this is the filings last summer, I guess, concerning the

25     Cullinane case that came from the circuit.        Since the
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 1     plaintiffs called it to my attention, I think we'd hear from

 2     them first --

 3               MR. WELD:    Thank you, your Honor.

 4               THE COURT:    -- as to what meaning it may have, if any,

 5     for our purposes.

 6               MR. WELD:    Actually, there are two cases that came to

 7     your attention:    The Meyer case and the Cullinane case.

 8               THE COURT:    Okay.    Meyer from the Second Circuit?

 9               MR. WELD:    From the Second Circuit, yes.      I think

10     that's important.

11               THE COURT:    Right.   Okay.   You're right.

12               MR. WELD:    I think it's important to put them in

13     juxtaposition with each other in order to point out

14     similarities and differences --

15               THE COURT:    Fine.

16               MR. WELD:    -- in the FanDuel presentation.

17               The two cases did not dramatically change the

18     landscape in terms of the legal standard to be applied.

19     However, I do believe that they helped home the court in on

20     certain factors that those two appellate courts found to be

21     important in determining whether the standard was met or not

22     met.

23               As a basic matter, the standard is twofold.           One is,

24     are the terms and conditions reasonably conspicuous to an

25     ordinary consumer to whom they're intended to be presented, in
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 1     this case smartphone users, et cetera.       And, secondly, was

 2     there unambiguous acceptance or consent to those terms.          Those

 3     two concepts run through both Meyer, Cullinane and, frankly,

 4     all of the other appellate decisions in both circuits.

 5                 The Cullinane case starts from Mass. law, the Ajemian

 6     case.   It cites to a Second Circuit case to get to the same

 7     result.    The Second Circuit comes from a little different

 8     route, but the basic principles are the same both in Mass. and

 9     New York.    And the second thing that is important here is that

10     the distinction that FanDuel raises in its brief that there is

11     a choice of law or a difference between the law in two

12     jurisdictions I would suggest is a red herring.         It's not the

13     case.

14                 The basic principles remain the same and they're not

15     changed by either the reference to Ajemian in Mass. law or to

16     the other cases such as Specht in the Second Circuit.           The

17     Ajemian case, in fact, recites Specht in determining the

18     standard to be applied, as I just advanced to the court.

19                 Additionally, I think important to note, as we try to

20     parse these screens, is that the burden of proof in both

21     Massachusetts and New York on proving the existence of an

22     agreement, or sorry, an agreement established by the screens is

23     on the parties seeking to enforce the agreement, in this case

24     FanDuel.

25                 Also for clarification, these new cases apply really
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 1     exclusively to our argument against FanDuel as to its screen

 2     presentation and whether a contract was formed that involved a

 3     requirement to arbitrate.

 4               Cullinane and Meyer are essentially consistent in how

 5     they focus on the factors to be considered in determining

 6     whether there was conspicuous presentation of terms and

 7     unambiguous acceptance, and although they weighted different

 8     factors in the various opinions, I believe those factors run

 9     between both -- or through both cases, and I see them as really

10     five factors.

11               One is, first, what is the nature of the hyperlink

12     itself?   Is it clear that the terms and conditions or terms of

13     use, depending on the case, are clearly called out as a

14     hyperlink?   The cases focus really on three elements of that

15     determination.    First, is the hyperlink in light blue

16     consistent with normal usage of a smartphone user?         Number two,

17     is the hyperlink underlined, also a traditional way of calling

18     out a hyperlink?    And number three, is there some distinction

19     in the type of type used, either bold or capitalized, that

20     calls out the nature of a hyperlink?

21               In fact, the Second Circuit case, which FanDuel argues

22     is most applicable, the Meyer case, really suggests that the

23     hyperlink nature is almost a threshold determination that one

24     has to get over before you look at the other factors.           In fact,

25     the court held that as long as the hyperlink text was itself
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 1     reasonably conspicuous, and we conclude that it was, a

 2     reasonably prudent smartphone user would have constructive

 3     notice of the terms.     So Meyer really focused on what does that

 4     link look like.

 5               The second element or factor that seemed to run

 6     between both cases is, are there other hyperlinks on the page

 7     and how do they compare to the hyperlink that is the terms or

 8     use that call out the arbitration provision.        So that if there

 9     are other hyperlinks or they're in more bold type, that

10     dictates against conspicuous presentation of the hyperlink that

11     contains the arbitration provision.

12               The third element is, is the page laid out or the

13     screen laid out in a manner that is uncluttered and deals

14     fundamentally with the subject matter that is sought to be

15     conveyed, meaning that there are terms and conditions, and if

16     you sign up or join, that you are accepting those terms and

17     conditions.    Where there is other verbiage on the page using

18     different types of color types, different sizes of types,

19     that's a factor that suggests that these terms were not

20     conspicuous.

21               The fourth element is what is the configuration of the

22     screen.   What's the relative position of the terms of use to

23     the button on which you're sending?       And where there is a lot

24     of information in between those two things the courts seem to

25     suggest there is more a likelihood that the consumer will not
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 1     understand that A is linked to B, therefore forming a contract.

 2     Whereas if there's no -- where there's no space in between or

 3     either directly above or below, that dictates that perhaps the

 4     consumer would be more likely to understand that by clicking on

 5     a button they are accepting terms.

 6               And the final element is the unambiguous acceptance

 7     element, which focuses on is it clearly conveyed to the

 8     consumer that when you click on whatever the assent button is,

 9     you are accepting these terms.      Are they verbally effectively

10     connected?

11               So the first thing that we need to think about in

12     analyzing the FanDuel screen in light of Meyer and Cullinane is

13     what screen are we analyzing?      Because there is a screen that

14     is Exhibit A to the Kidder affidavit in the original papers

15     that FanDuel has presented which, according to their affidavit,

16     says that it was in effect sometime in 2015.        There is a second

17     screen that has more verbiage on it that is part of the first

18     amended complaint, and in using the -- what I'm told is called

19     the Wayback Machine, one can go online and determine when

20     certain things were in use.      And that screen is in use from

21     August 2015 to the fall of 2016.      And that's the screen we

22     suggest to your Honor is most relevant here.

23               There are not huge differences between the two, but

24     there are some, and we'll talk about them in a moment.          But it

25     is interesting that the affidavit submitted by FanDuel ignores
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 1     what apparently was the screen that existed for a large portion

 2     of this class period, particularly the period of time from

 3     August 2015 to October 2015 when the largest amount of

 4     advertising was going on and the largest number of signups of

 5     potential class members.

 6                So if I can get my screen to work, I'd like to walk

 7     through these screens and demonstrate the differences in how

 8     these concepts should be applied.

 9                Okay.   So let's start first with the Meyer case, which

10     is the Second Circuit case in which the Second Circuit found

11     that a contract was formed.      So most importantly, as I pointed

12     out when we applied the first factor, what does the hyperlink

13     look like, it has all the three major indicia of a hyperlink.

14     It's blue, it's underlined, and it's capitalized.

15                THE COURT:   Would it make a difference if it was red?

16                MR. WELD:    I don't think so, but it might.

17                THE COURT:   How about orange?

18                MR. WELD:    I think probably the most important thing

19     is, is it called out in an emphatic manner, but cases do

20     discuss that it is customary to call out a hyperlink in light

21     blue.   So I think it's relevant that it's light blue, but I

22     don't think it's determining whether it's orange or light blue.

23                Secondly, is there a clear indication that the user is

24     creating an account or signing up, and here it clearly says by

25     creating an Uber account you are agreeing to the terms and
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 1     conditions.

 2                Third, as I mentioned, the question is what's the

 3     configuration of the page?      How close are these terms and

 4     conditions to the manifestation of assent, and here as shown by

 5     the arrow, there is no type or print in between the assent

 6     buttons and the terms and conditions as called out.

 7                And finally, to the extent there are other hyperlinks

 8     on the page, they are less dominant or called out than the

 9     hyperlink for the terms of service.       They are not in

10     highlighted print, and they do not distract from the fact that

11     the most visual piece of this screen is the highlighted

12     capitalized light blue type.

13                So these are the four elements that we believe the

14     court focused on in order to say this conveys conspicuous -- or

15     this is a conspicuous delivery of the terms to the user.

16                We then go over to the FanDuel page, and this is the

17     page from the amended complaint.       If we look at this sort of

18     threshold issue, according to Meyer, of what do the terms of

19     service button look like or hyperlink, it's not all caps.            It's

20     in smaller font than several other of the indications on the

21     page, including the promo callout.       It's not in blue or any

22     other color.    And it's not underlined.      I'll come back to the

23     underline issue at the end of the presentation, but that's what

24     the page looks like when the user sees it.

25                There are two other hyperlinks on the page.           Both of
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 1     them are in light blue, even though the terms of service are

 2     not in light blue, and the "Got a Promo" code is in larger font

 3     than the terms of service.

 4                Further, on the clutter issue, as the courts call it,

 5     there is an unrelated sentence in the middle of this

 6     presentation to the user that talks about you getting exclusive

 7     offers and messages about FanDuel that has nothing to do with

 8     the signup process or the conveyance of terms and the

 9     acceptance of terms.     Again, the cases refer to it,

10     particularly Cullinane, as unnecessary clutter.

11                And in terms of unambiguous acceptance of terms, we

12     have a "Play Now" button, but the invitation to look at the

13     terms talk about joining.      They don't talk about playing.    So

14     the "Play Now" does not match the "Join" button.         You may say,

15     well, that's semantics, but at the time this was going on,

16     FanDuel and DraftKings were both offering free play to people.

17     So it's conceivable that a consumer looking at this could say,

18     "Well, I don't want to join but I'm interested in playing."

19                So if we look at the four factors from Meyer, none of

20     them are present on the FanDuel screen.        In fact, the exact

21     opposite is the issue.      The FanDuel screen violates four of the

22     five factors that I outlined from the Meyer and Cullinane

23     cases.

24                So let's go over to Cullinane and say, okay, here's

25     the First Circuit applying very similar rules, produces an
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 1     exact opposite result.      They conclude there's no contract, no

 2     agreement to arbitrate.      So the first question is -- we look

 3     again at the terms of service and how they're called out.

 4     Cullinane notes they're not in all caps.        They're not

 5     underlined.    They're not in blue.     Same as the FanDuel screen.

 6                We then go to the hyperlinks.      There's two hyperlinks

 7     or hyperlink-type devices.      Both of them are in blue, similar

 8     to FanDuel.    In fact, the FanDuel screen is worse because the

 9     hyperlinks are much more dominant and at least one of them is

10     in larger font.

11                We go to the clutter issue, and the First Circuit says

12     the presence of these hyperlinks, as well as the "Cancel" and

13     the "Link Payment" heading is additional clutter unrelated to

14     the formation of the contract itself and dictates against the

15     notion that these terms were reasonably conveyed.

16                So in Cullinane, they focus on these three factors,

17     all of which the FanDuel screen also fails.        Again, this is

18     essentially a repeat, but comparing it to the Cullinane screen.

19     We've got multiple hyperlinks, unrelated clutter, no

20     unambiguous assent and the terms of service are not properly

21     highlighted.

22                So the screen that FanDuel wants to present, which,

23     again, is suggested to be sometime in 2015 with no definition,

24     there are some differences.      However, I would suggest to your

25     Honor they're immaterial.      One difference is they have changed
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 1     the signup button now so it says by signing up, you confirm

 2     that you are 18 and agree to the terms.        But they still don't

 3     match the "Play Now" button.      Of course, after this case is

 4     filed, they now match the "Play Now" button.

 5                And although some of the clutter is removed, they've

 6     removed the one sentence about "not receiving emails" -- or

 7     "receiving emails," excuse me, but the same hyperlink

 8     distractions, font problems, et cetera, all still exist.

 9                So when you actually compare the three cases, it is

10     clear that FanDuel falls on the Cullinane side of this

11     discussion, the driver being the highlights of the hyperlink,

12     the conflicting hyperlinks, the clutter on the screen and the

13     non-match between the assent button and the agreement language.

14                Now, on Monday evening we received an affidavit from

15     FanDuel with no motion filed on ECF in which there's an

16     indication that on this screen that you see before you, your

17     Honor, that if you hover over the terms of use with a mouse,

18     that a line appears and it's underlined and, therefore, the

19     consumer would know, voila, you have a hyperlink.         But first,

20     it seems somewhat of a stretch to say that the user, a normal

21     user needs to hover over every element on this page to decide

22     which ones are hyperlinks, and perhaps more important -- and I

23     think this really goes to the core of the argument, which is

24     FanDuel knew how to make this a binding contract.         There's a

25     few things that they could do that were easy.         They could make
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 1     this into a click-wrap presentation, which is where you

 2     formally have to physically check a button and say, "I agree to

 3     these terms," which they elected not to do.        And they could

 4     have called out the "Terms of Use" in bold language, bold

 5     letters, excuse me, blue hyperlink and an underline, and they

 6     would have been squarely within the law in terms of forming a

 7     contract.    They chose not to do that.      They chose to obscure

 8     the terms.    They chose to obscure the assent button, and,

 9     frankly, they should not be rewarded for doing so.         They bear

10     the burden of proving the binding agreement.         And I suggest to

11     you, your Honor, when you look at this screen against the Meyer

12     screen and the Cullinane screen, there's no question that this

13     screen falls on the Cullinane side of the line.

14                 THE COURT:   Doesn't that argument import into your --

15     into the first inquiry as to the existence of an agreement to

16     arbitrate defenses to an agreement?

17                 MR. WELD:    I'm sorry.   I'm not following your

18     question.

19                 THE COURT:   In other words, I'm hearing, maybe

20     incorrectly, some arguments of the nature of unconscionability

21     and so on.    Those are after -- those are for consideration

22     after the question has been answered whether there is an

23     agreement.

24                 MR. WELD:    That's correct.   And there's no question

25     that the court decides -- the issue of whether there's an
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 1     agreement to arbitrate is question one.        There's no question

 2     that it's a question for the court.       And at least as to the

 3     Fanduel --

 4                THE COURT:   I guess my point that I want to be clear

 5     on, that there is a voidable agreement to arbitrate is not a

 6     question that arises in that instance?

 7                MR. WELD:    That's correct.

 8                THE COURT:   Okay.

 9                MR. WELD:    Thank you, your Honor.

10                THE COURT:   Okay.

11                MR. ZWILLINGER:    Good afternoon, your Honor.         Mark

12     Zwillinger for FanDuel.

13                Before I begin, I wonder if I could ask my paralegal,

14     Jamie Moses, to flip the display board we're going to be using

15     during the presentation.      Thank you, your Honor.

16                Your Honor, as I listened to plaintiffs' presentation,

17     I can't help but think he's lost the forest for the trees.

18     This case has one question.      It's a simple question.         Would a

19     reasonable Internet user who pushes that button, that green

20     "Play Now" button understand they were agreeing to something,

21     and did we show them where they could find what they were

22     agreeing to?    That's the question.

23                And let me explain why the two Circuit Court of

24     Appeals cases that came down say that's the question and why

25     they say that the answer to that question is unequivocally yes.
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 1     I'll start with the Meyer case.

 2                What's interesting about the Meyer case is we are

 3     talking today, plaintiffs' counsel, about all the things that

 4     were different between FanDuel's flow and the Meyer flow, but

 5     when we argued this last summer and when he stood up here and

 6     filed his original briefing, he talked about how they were the

 7     same, because originally Judge Rakoff in the Meyer case did not

 8     uphold the agreement to arbitrate, and the Second Circuit,

 9     using California law and New York law, reversed him, and said

10     that there was unequivocal assent to the clause in the Meyer

11     case, Meyer v. Uber.

12                So just to remind the court what plaintiffs' counsel

13     had said, the next board is an excerpt from page 9 of the

14     brief.   I understand why plaintiffs' counsel wants to walk away

15     from the holding of the case, but it can't walk away from the

16     facts so easily.     And you should all have a set of screen shots

17     in front of you that have this as well if the board is too far.

18                But the plaintiff said, remarkably, Uber used much the

19     same method and general layout as FanDuel did here, and then

20     they proceeded to explain all the similarities, that there was

21     no "I agree" box in either case, that the terms were presented

22     in a link and not on the screen, that the hyperlink was not

23     prominently displayed, that there was other information more

24     prominently displayed on the page than the hyperlink, including

25     the button.    And they stood up here last time and said it's the
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 1     most similar and the closest case.       And that is the one thing

 2     we agree upon.    It is the most similar and closest case, but it

 3     goes in FanDuel's favor.      And it goes in FanDuel's favor in

 4     part for the same reasons the plaintiffs told you it did,

 5     because the signup process is virtually identical.

 6                Rather than the five-factor test that was not in

 7     either of those cases, I want to look at the Meyer case and the

 8     Uber signup flow and what the court actually did say about it.

 9     So if we could put up that flow.

10                First, the court had the same questions, was there

11     reasonably conspicuous notice of the terms, did the plaintiffs

12     unambiguously manifest their assent, but the court said the key

13     inquiry is whether the plaintiffs were on inquiry notice, those

14     two words that never came out of plaintiffs' mouth:          Inquiry

15     notice.    Notice that would cause a reasonable person who looked

16     at the signup page to know that there is a place to look to

17     find out what they're agreeing to.

18                It's the same logic inquiry notice that has upheld

19     contracts in New York and here in Massachusetts for years,

20     contracts on the back of sporting event tickets, contracts on

21     the back of plane tickets.      Inquiry notice.    Do the plaintiffs

22     have reason to inquire as to what those terms are?

23                So the court went through the analysis with this

24     screen, and the court said first it was uncluttered.             It mainly

25     consisted of fields where the user could enter data.             And it
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 1     said on it by creating an account, you would agree to the terms

 2     of service and privacy policy.       So a reasonable user would know

 3     that there was something there to look at.          And it said that

 4     the hyperlinks were directly below the button for registration,

 5     although I'll point out that plaintiffs -- the button for

 6     registration is actually the gray button.        So it's not quite as

 7     close as he says.     The "PayPal" button and "Google Wallet"

 8     would take you to another screen where you would have to sign

 9     into those services.     So the action button is the "Register"

10     button.

11                The terms, the court said, were presented at the same

12     time as the enrollment.      Those were the reasons why the court

13     said this was inquiry notice.       Was it perfect?    No.   The court

14     said it wasn't perfect.      The font was small, very small, and we

15     know from the district court case that that hyperlink didn't

16     even go to the terms.     It went to a landing page where the user

17     could then click terms or privacy policies.         So there was

18     something in between.     Was it perfect?     No.   But the court said

19     on the whole this signup flow gave a plaintiff a clear signal

20     that registering would subject them to contractual terms, and

21     the user did not have to go far to find them.         That's the test,

22     not whether the appearance is perfect not whether every link is

23     blue, but do they know they're agreeing to something and do

24     they know how to find it.

25                Let's looked at the FanDuel flow now.        Let me address
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 1     the question of the three FanDuel flows in the record before we

 2     talk about it.

 3                 This is the FanDuel flow from 2015.      Plaintiffs'

 4     counsel makes you think that we improved the flow by going to

 5     this one.    This was the original flow.      It was in the Dylan

 6     Kidder affidavit as Exhibit A.       The new affidavit we filed on

 7     Monday pinpoints that this was in use in May of 2015 because we

 8     showed that Wayback Machine page.       Then we also put in a 2016

 9     flow that we authenticated with the Dylan Kidder affidavit, and

10     the plaintiffs' flow, while in use at some point, is only based

11     on their complaint.     We did not put that in to authenticate it.

12     That's basically their complaint.       But we're happy with all

13     three flows.    We will defend all three of them because they all

14     come to the same conclusion.      In fact, there are things I like

15     better about the plaintiffs' flow.       That's why it was in use

16     later.

17                 But let's look at it.    Using the factors from Meyer,

18     exactly what the Second Circuit did, it's not cluttered.           It's

19     even less cluttered than the Uber flow.        It's hard to imagine

20     something less cluttered than this.       It's on a white background

21     and everything jumps out.      It doesn't require any scrolling.

22     It was all presented when the user got to the page.          It says

23     what Uber said.     By signing up, you confirm you're 18 years of

24     age, that's new for FanDuel, but that you agree to the terms of

25     use.   It's right there.     The reference to the terms is as close
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 1     or closer to the action button, which is the "Play Now" button,

 2     as it was in Uber.     I think it's closer because the action

 3     button was the "Register" button.

 4                So the question is, would a reasonable user be on

 5     notice that the terms existed?       Now, plaintiffs have problems

 6     it.   They say it's not blue.     And the Court correctly asked

 7     would it matter if it were red or orange because it wouldn't.

 8     The GILT case, which we'll see the screen shot in a minute,

 9     GILT was yellow.     It doesn't have to be blue.      In fact, if it

10     were blue, I think the Cullinane court would say we lose

11     because the Cullinane court said there are too many things that

12     are blue on the page.     Our terms of use is the only thing

13     that's bolded below the button.       It definitely looks different

14     than those other hyperlinks.      So if a user had any interest in

15     reading the terms, they could click on the terms.         They could

16     hover over the terms and they would see it became a hyperlink,

17     and that's what we put in on Monday.        So if you see Exhibit 4

18     it's the same exact screen that shows you what happens if you

19     mouse over it.

20                And we put in the record just to clarify, because I

21     felt like the plaintiffs were being a little bit misleading,

22     there was no dispute that this was a hyperlink.         Everybody

23     agreed it was a hyperlink and it took you to the terms.          And

24     the way a hyperlink works is if you mouse over a hyperlink in a

25     browser, it underlines.      So it didn't seem particularly
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 1     controversial, but they kept making a big deal out of no

 2     underline.    So we wanted to be clear, and you can check the

 3     link in the affidavit, that it underlines.        If they did click

 4     the terms, by the way, just to remind the court, the very first

 5     line of the terms of use references the arbitration clause.

 6     It's not a scrolldown.      It's not buried somewhere.     It is the

 7     very first line.     They click that link and it says, "Terms of

 8     use are subject to an arbitration provision."

 9                If that's the inquiry notice question, let me turn to

10     the manifestation of assent question, because that's the second

11     question, did the plaintiffs unambiguously manifest their

12     assent.    And the court in the Meyer case said a reasonable user

13     would know by clicking the registration button that he was

14     agreeing to the terms and conditions whether or not he read

15     them.

16                The court said it doesn't matter that the button did

17     two things.    The plaintiffs say it's not a clickwrap.          It is a

18     clickwrap.    You click it and the button does two things.         You

19     sign up for an account, you agree to the terms.         The Meyer

20     court was presented with the same argument, that two things

21     isn't unambiguous.     They said it is.

22                And the Meyer court addressed the same argument the

23     plaintiffs are making here that the language under the button

24     doesn't match the language in the button.        And then in 2016 we

25     changed it.    True, it doesn't match.      It didn't match in Uber.
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 1     In Uber it said "Register."      The language under the button

 2     said, "Creating an Account."      Our version of this says, "By

 3     signing up."    The plaintiffs' version says, "By joining," but,

 4     remember, to get to this page, the plaintiff first had to click

 5     "Join Now."    That's what they were doing, "Join Now."          So the

 6     fact that the language under the button said, "By signing up"

 7     or "By" joining," it means the same thing.

 8                If you could put up the GILT page.

 9                We referred to this in the recent briefing.           It's not

10     the recent case, but I just wanted to remind the court that it

11     doesn't matter what the button says.        This button said "Shop

12     Now."   "Shop Now" is about as similar to "Play Now" as you can

13     get.    And this link isn't blue.     It's yellow.    But the court

14     said this was enforceable.      And other courts have enforced

15     things with a button not matching the text as well.          One of the

16     buttons in the Uber flow said "Done."        That's the Cordas case.

17     One of the buttons said, "Place Order."        One of the buttons

18     said "Sign Up."     The word is not important.     The standard is

19     whether the user understood that by clicking the word they were

20     agreeing to the terms.

21                Put up the FanDuel flow side-by-side with the Uber

22     flow, please.

23                Again, plaintiffs said this was the most similar flow.

24     It is the most similar flow.      Much more similar than Cullinane.

25     And what the court said at the end of Meyer, and I want to
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 1     direct this court to it because it wasn't really highlighted as

 2     much in the briefs.     It's on page 30.     The court said, it's

 3     critically important to remember -- or I'm saying it's

 4     critically important to remember what the court said, excuse

 5     me, that the registration process here contemplated a

 6     continuing relationship between the user and Uber, one that

 7     would provide payment information.       It would require some terms

 8     and conditions to govern the relationship.        That's what they

 9     were doing in Uber.     They were signing up.     Here they were

10     playing on FanDuel.

11                This wasn't a one-time thing.      This wasn't a purchase

12     of items at a store.     They were joining, signing up for an

13     account to play a contest that has rules, that has pay-outs,

14     where they have to look at the results.        They were going to

15     have a continuing relationship with FanDuel.

16                The court said what would a reasonable Internet user

17     expect on the Uber flow, that they would have a continuing

18     relationship with Uber and some terms would apply and they knew

19     where to find them, and we say it's the same thing here.         The

20     opposite certainly couldn't be true.        No reasonable user could

21     come to this page and think that they could engage in a contest

22     on FanDuel and there would be no terms and conditions that

23     would apply.    Maybe in 1999 someone could think that but not in

24     2012.

25                So let me last turn to Cullinane.      I think it's clear
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 1     how the FanDuel page and Uber flow are similar in Meyer.         Now

 2     let's look at how different they are in Cullinane.

 3                 In Cullinane, of course, the court was applying

 4     Massachusetts law.     We don't disagree -- there aren't that many

 5     differences between Massachusetts and New York law.          But the

 6     Massachusetts courts do not keep going to this inquiry notice

 7     question that the New York courts do.        Meyer is in a long line

 8     of cases where they've upheld clauses using the concept of

 9     inquiry notice.     That's what we're looking at.      That's the

10     difference in law.     The difference in fact is pretty apparent.

11     The one thing the plaintiffs didn't point out is that dark gray

12     line on the black background above the terms and conditions,

13     which I think had a major impact on the case.         It's barely

14     legible.    It seems almost intentionally designed to fade into

15     the background.     The court called it a dark gray, small size,

16     non-bolded font against a black background.        If there's one

17     animating factor from that case, it's that, that you can't see

18     that.   That's the line that says you're agreeing to the terms

19     and conditions.

20                 Here's what the court didn't say:     The lack of an

21     underlined blue hyperlink is fatal.       The court didn't say that.

22     The court didn't say it had to be blue.        It said the exact

23     opposite:    That Uber's bolded hyperlink to its terms might have

24     been sufficient but for the appearance of other things on the

25     page that are equally prominent and didn't set off the terms.
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 1     It didn't say you lose if it's not blue.        That's just not the

 2     holding of that case.

 3                Now, if you look at that flow, the Uber Cullinane

 4     flow, and you put back up Exhibit 4, and this is where I'll end

 5     it, nothing in our flow looks like that Uber flow, nothing's on

 6     a black background.     Noting's hard to read.     Everything is on a

 7     white background.     The terms of use jumps out at you as a

 8     bolded term underneath the action button.        We win under the

 9     court's analysis in either case, in Meyer or Cullinane.          But if

10     you're going to follow one of them, you should follow Meyer,

11     because the court applied common principles to New York law,

12     because our consent flow is much more like Meyer than

13     Cullinane, and because Meyer continues a line of New York cases

14     that includes the GILT case and the Facebook case where they

15     enforced the terms.

16                The question is, did FanDuel make it clear that a

17     reasonable Internet user could understand the terms would

18     govern their relation and did they make it clear how to find

19     those terms.    FanDuel did that, and that's all they needed to

20     do.

21                Thank you, your Honor.

22                THE COURT:   Okay.   Anything from DraftKings?

23                MR. MARSHALL:    Your Honor, plaintiffs' counsel and I

24     believe FanDuel counsel indicated DraftKings had a click-wrap

25     agreement that's not implicated by any of these cases, and the
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 1     last time we were here plaintiffs' counsel conceded valid

 2     formation for the DraftKings.

 3                MR. WELD:    Just two brief points, your Honor.

 4                In his argument my colleague said what could be more

 5     simple than this.      And, in fact, if we had put the terms of use

 6     in blue, we would have been violative of the Cullinane opinion

 7     because it would have blended in with the other blue.            Well,

 8     the point is why didn't they put the terms of use in blue and

 9     eliminate the "promo code" information, eliminate the "log in

10     instead" information because if they really intended to convey

11     to the consumer, These are the terms of use, it was easy to do.

12     They could have one hyperlink.       It would be blue, capitalized

13     and underlined as it was in the Meyer case.        In the Meyer case,

14     there are no other blue items on the page, and they're not

15     called out separately.

16                The real question is what was one of prominence,

17     what's conspicuous.     There's no discussion in either case about

18     what the flow is.      There are elements that are broken down, and

19     those are what I tried to discern in these five factors.           And

20     if you put the five factors on both cases, you see the subtle

21     differences.    They're subtle, there's no question about it, but

22     that's the way the state of the law is.        This is a highly

23     factual analysis applying fairly generalized concepts, but the

24     real question is, is there an effort by the vendor to convey

25     the terms such that a reasonable user would see that they're
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 1     going to be bound by something, and I suggest that there is

 2     more clutter and there isn't a hyperlink clearly displayed.

 3                THE COURT:   So an interesting observation you make

 4     about how fact-specific this is.       In Cullinane, and I think in

 5     the Meyer opinion as well, calls this decision a conclusion of

 6     law.   It's a conclusion of law that is, I think from your

 7     presentation, influenced almost entirely by an assessment of

 8     factual matter.

 9                MR. WELD:    I think that's correct.     I think you would

10     almost liken it to a summary judgment where you have -- the

11     screen's the screen.     So there are no factual disputes about

12     what you have to consider, but you have to apply these

13     principles to the screens.

14                THE COURT:   Right.     But in that case we wouldn't

15     decide that on summary judgment.       We'd leave it to the jury to

16     decide what would have been reasonable under the circumstance.

17                MR. WELD:    I think the cases are pretty clear.

18                THE COURT:   They say it.

19                MR. WELD:    It's on you.

20                THE COURT:   No, no, I agree with that.      I belive they

21     say it rather clearly, that it's a question of law.          Then they

22     analyze it as if it were a question of fact.

23                MR. WELD:    I agree.

24                THE COURT:   I'm not sure how useful that guidance is.

25                Let me just ask you, to the extent there's a factual
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 1     element to the conclusion of law, the standard is a reasonable

 2     person?    It's an objective standard?

 3                MR. WELD:    It's an objective standard in both

 4     jurisdictions.

 5                THE COURT:   Is there a difference between a reasonable

 6     person, as a general matter, and a reasonable Internet user?

 7                MR. WELD:    The cases, to be perfectly frank, talk

 8     about a reasonable smartphone user.       I don't -- I'm not sure

 9     where that falls on the spectrum, because clearly a spectrum

10     from an unsophisticated user to a sophisticated user, I suppose

11     it's someplace in the middle.

12                THE COURT:   Okay.

13                MR. ZWILLINGER:    May I address that, your Honor?

14                THE COURT:   Go ahead.

15                MR. ZWILLINGER:    The case talks about a reasonable

16     user doing the things that we're looking at.         In Uber it was a

17     smartphone user.     Here we're looking at people who register on

18     the Web.    So it's a reasonable computer user.

19                THE COURT:   You'd say it's even more specific than a

20     reasonable Internet generalist.       You'd say it's the type of

21     person who would be attracted to this activity.

22                MR. ZWILLINGER:    I think it should be a reasonable

23     Internet user and the type of person who could navigate

24     sufficiently to a page in the first place.        You don't navigate

25     to the FanDuel page to play online sports if you're shopping.
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 1     You're here for a reason.      So it's a reasonable user doing the

 2     thing that's at issue in the case.       In this case it's

 3     navigating the Web to play fantasy sports.

 4                 THE COURT:   How does that figure into a legal

 5     conclusion as opposed to a factual one?

 6                 MR. ZWILLINGER:   Well, there's no factual dispute.

 7     That I agree with my brother, that there's no factual dispute

 8     as to what the pages say.      But there is a dispute about what it

 9     means to be a reasonable user.       Let me give you one example.

10     Google News is one of the most popular sites on the Internet.

11     350 million people go there every month.        None of their

12     hyperlinks are blue.      All the headlines to all the articles are

13     in black.    You mouse over them and they underline and then you

14     click them.    A reasonable Internet user is confronted with

15     things like Google or Facebook all the time.         So the age in

16     which only a hyperlink was blue I think is long past, and the

17     only reason I mention that is not to get in the record of how

18     many people use Google, but to get the court to -- that a

19     reasonable user in 2012, 2013, 2014, 2015 is experiencing the

20     Internet as a whole and knows that not everything is blue, not

21     everything is bold or not bold.       They understand how to

22     navigate a website.      That's the point I was making.

23                 MR. WELD:    Your Honor, if I may just reply to that

24     briefly.

25                 THE COURT:   Go ahead.
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 1                MR. WELD:    We have a June 2018 opinion from the First

 2     Circuit that says, "Uber's terms of service and privacy policy

 3     hyperlink did not have the common appearance of a hyperlink.

 4     While not all hyperlinks need to have the same characteristics,

 5     they are," quote, "'commonly blue and underlined,'" close

 6     quote.   So certainly the First Circuit would take issue with

 7     that interpretation.

 8                THE COURT:   Am I bound by that conclusion, the

 9     numerosity part of it, typically?       Is that --

10                MR. WELD:    I'm not sure there's that level of guidance

11     in this opinion.

12                THE COURT:   Okay.   Thank you all.

13                MR. WELD:    Thank you.

14                MR. MARSHALL:    Thank you, your Honor.

15                THE COURT:   I'll take it under advisement.

16                THE CLERK:   All rise for the court.      The court will be

17     in recess.

18                  (The proceedings adjourned at 3:03 p.m.)

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 1                             C E R T I F I C A T E

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 3     UNITED STATES DISTRICT COURT )

 4     DISTRICT OF MASSACHUSETTS        )

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 7                I certify that the foregoing is a correct transcript

 8     from the record of proceedings taken December 12, 2018 in the

 9     above-entitled matter to the best of my skill and ability.

10

11

12     /s/ Kathleen Mullen Silva                      12/18/18

13     Kathleen Mullen Silva, RPR, CRR                  Date
       Official Court Reporter
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